Case 2:20-cv-00168-SPC-NPM Document 30 Filed 06/04/20 Page 1 of 1 PageID 177



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

RONALD TONGE,

              Plaintiff,

v.                                                 Case No.: 2:20-cv-168-FtM-38NPM

NOVARTIS PHARMACEUTICALS
CORPORATION,

             Defendant.
                                        /

 Judge:         Nicholas P. Mizell          Counsel for     Todd R. Friedman
                                            Plaintiff       Richard M. Elias
 Deputy         Wendy Winkel                Counsel for     Andrew L. Reissaus
 Clerk:                                     Defendant:      Donald R. McMinn
                                                            Michael J. Thomas
 Court          Digital                     Interpreter
 Reporter
 Date/Time      June 4, 2020                Total Time      45 minutes
                11:00 AM

                            Preliminary Pretrial Conference

Court discussed case management and scheduling deadlines and other issues
regarding case management, including E-Discovery, Confidentiality Agreements,
Settlement Conference before a Magistrate Judge and disclosure of expert reports.

Court reminded Counsel to consult and follow the provisions of the forthcoming
CMSO, the Court’s Discovery Manual and CM/ECF administrative procedures, and
Judge Chappell’s policies and preferences, all of which are available on the Court’s
website.

Court directed Mr. Elias to update attorney information in CMECF. Court
discussed pending pro hac vice motions. An Oral

Oral Joint Motion for the entry of a 502 (d) Order is Granted. Order to follow.

Scheduling Order to issue.
